         Case 1:13-vv-00780-UNJ Document 57 Filed 12/02/16 Page 1 of 9




    In the United States Court of Federal Claims
                            OFFICE OF SPECIAL MASTERS
                                      No. 13-780V
                                Filed: November 4, 2016

* * * * * * * * * * * * * * * *                             UNPUBLISHED
MISTY HOGAN and JAMES HOGAN,            *
on behalf of S.M.H., their minor child, *
                                        *                   Special Master Hamilton-Fieldman
               Petitioners,             *
                                        *                   Joint Stipulation on Damages;
v.                                      *                   Measles-Mumps-Rubella Vaccine;
                                        *                   Varicella; Diptheria-Tetanus-
SECRETARY OF HEALTH                     *                   Acellular Pertussis-Inactivated Polio
AND HUMAN SERVICES,                     *                   Virus Vaccine; Aplastic Anemia.
                                        *
               Respondent.              *
* * * * * * * * * * * * * * * *

Danielle A. Strait, Maglio Christopher & Toale, PA, Washington D.C., for Petitioners.
Heather L. Pearlman, United States Department of Justice, Washington, D.C., for Respondent.

                                          DECISION 1

        On October 8, 2013, Misty and James Hogan (“Petitioners”) filed a petition on
behalf of their minor child, S.M.H. for compensation pursuant to the National Vaccine
Injury Compensation Program. 2 42 U.S.C. §§ 300aa-1 to -34 (2012). Petitioners alleged
that as a result of the measles-mumps-rubella (“MMR”); varicella; and the diptheria-
tetanus-acellular pertussis-inactivated polio virus (“DTaP-IPV”) vaccines administered
on February 2, 2012, S.M.H. contracted aplastic anemia. See Stipulation for Award at ¶
1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this decision on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, codified as amended at 44 U.S.C. §
3501 note (2012). As provided by Vaccine Rule 18(b), each party has 14 days within which to
request redaction “of any information furnished by that party: (1) that is a trade secret or
commercial or financial in substance and is privileged or confidential; or (2) that includes
medical files or similar files, the disclosure of which would constitute a clearly unwarranted
invasion of privacy.” Vaccine Rule 18(b).
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.


                                                1
          Case 1:13-vv-00780-UNJ Document 57 Filed 12/02/16 Page 2 of 9



2, 4, filed Nov. 3, 2016. Petitioners further alleged that she suffered residual effects of
this injury for more than six months. Id. at ¶ 4.

        On November 3, 2016, the parties filed a stipulation in which they state that a
decision should be entered awarding compensation to Petitioners. Respondent denies that
the MMR, varicella, and DTaP-IPV vaccines received on February 2, 2012 caused
S.M.H.’s aplastic anemia, or any other injury. Id. at ¶ 6. Nevertheless, the parties agree
to the joint stipulation, attached hereto as Appendix A. The undersigned finds the
stipulation reasonable and adopts it as the decision of the Court in awarding damages, on
the terms set forth therein.

        The parties stipulate that Petitioners shall receive the following compensation:

              1. A lump sum payment of $3,523.90 representing compensation for full
                 satisfaction of the Commonwealth of Pennsylvania Medicaid lien, in
                 the form of a check payable jointly to petitioners and:

                       Department of Human Services
                       Bureau of Program Integrity
                       Division of Third Party Liability Recovery Section
                       P.O. Box 8486
                       Harrisburg, Pennsylvania 17105-8486
                       Attn: Wanda Durf
                       CIS #: 630234569

                 Petitioners agree to endorse this payment to the Department of Human
                 Services;

              2. A lump sum payment of $1,644.00, in the form of a check payable to
                 petitioners, Misty and James Hogan, which amount represents
                 compensation for past unreimbursed expenses; and

              3. A lump sum payment of $76,751.38, in the form of a check payable to
                 petitioners, Misty and James Hogan, as guardians/conservators of
                 S.M.H.’s estate. This amount represents compensation for all
                 remaining damages that would be available under 42 U.S.C. § 300aa-
                 15(a).

Id. at ¶ 8.

       The undersigned approves the requested amounts for Petitioners’ compensation.
Accordingly, an award should be made consistent with the stipulation.


                                              2
         Case 1:13-vv-00780-UNJ Document 57 Filed 12/02/16 Page 3 of 9



         In the absence of a motion for review filed pursuant to RCFC Appendix B, the
clerk of the court SHALL ENTER JUDGMENT in accordance with the terms of the
parties’ stipulation. 3

       IT IS SO ORDERED.

                                             s/ Lisa Hamilton-Fieldman
                                             Lisa Hamilton-Fieldman
                                             Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.


                                                3
Case 1:13-vv-00780-UNJ Document 57 Filed 12/02/16 Page 4 of 9
Case 1:13-vv-00780-UNJ Document 57 Filed 12/02/16 Page 5 of 9
Case 1:13-vv-00780-UNJ Document 57 Filed 12/02/16 Page 6 of 9
Case 1:13-vv-00780-UNJ Document 57 Filed 12/02/16 Page 7 of 9
Case 1:13-vv-00780-UNJ Document 57 Filed 12/02/16 Page 8 of 9
Case 1:13-vv-00780-UNJ Document 57 Filed 12/02/16 Page 9 of 9
